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                                  UNITED STATES BANKRUPTCY COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                         SOUTHERN DIVISION

    In re:                                                           Case No. 20-00325 (SWD)

    INTERLOGIC OUTSOURCING, INC.,                                    Chapter 11
    IOI PAYROLL SERVICES, INC., IOI                                  (Jointly Administered)
    WEST, INC., LAKEVIEW HOLDINGS,
    INC., LAKEVIEW TECHNOLOGY,                                       Hon. Scott W. Dales
    INC., MODEARN, INC., and TIMEPLUS
    SYSTEMS LLC, 1
                      Debtors.
    __________________________________/

    ONESOURCE VIRTUAL, INC.

                                 Plaintiff,
                                                                     Adv. Pro. No. 20-80109 (SWD)
    v.

    INTERLOGIC OUTSOURCING, INC.,
    AND PRIMEPAY, LLC

                      Defendants.
    __________________________________/



                                                  DISCOVERY PLAN

             Pursuant to the Court’s Order dated December 22, 2020 [ECF Doc. # 14] and in accordance

with Fed. R. Bankr. P. 7026, the parties submit the following Discovery Plan.

             1.       The initial disclosures required by Fed. R. Civ. P. 26(a) will be made on or before

February 25, 2021.




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         The Debtors in these chapter 11 cases, along with the last four digits of each Debtor’s federal tax identification
         number, include: Interlogic Outsourcing, Inc. (1273); IOI Payroll Services, Inc. (1202); TimePlus Systems, LLC
         (9477); IOI West, Inc. (1405); Lakeview Technology, Inc. (1451); Lakeview Holdings, Inc. (7589); and ModEarn,
         Inc. (3473). The location of the Debtors’ headquarters is: 1710 Leer Drive, Elkhart, Indiana 46514.



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2. Discovery Plan. The parties jointly propose to the Court the following discovery plan:

       a. All fact discovery commenced in time to be completed by May 18, 2021.

       b. Maximum of 10 interrogatories by each party to any other party.

       c. Maximum of 20 request for admission by each party to any other party.

       d. Maximum of 20 requests for production by each party to any other party.

       e. Maximum of 5 depositions by Plaintiff and 8 by Defendants.

       f. Each deposition [other that of corporate representatives of the parties] limited to

           maximum of 4 hours unless extended by agreement of the parties.

       g. Reports from retained experts under Fed. R. Civ. P. 26(a)(2) due May 3, 2021. All

           expert discovery will be completed by May 21, 2021.

3. Other Agreed Upon Items.

       a. Plaintiff should be allowed until March 18, 2021 to join additional parties and until

           April 20, 2021 to amend the pleadings.

       b. Defendants should be allowed until March 18, 2021 to join additional parties and

           until April 20, 2021 to amend the pleadings.

       c. All potentially dispositive motions should be filed within the two week of the close

           of all discovery (i.e., by June 4, 2021).

   d. The proceeding should be ready for trial by July 19, 2021. The trial is expected to take

       approximately 1 trial day.




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Date: February 11, 2021


 Respectfully submitted,

 /s/ Michael C. Whalen                            /s/ Jamil N. Alibhai
 Steven L. Rayman                                 John R. Humphrey (pro hac vice)
 RAYMAN & KNIGHT                                  Indiana Attorney No. 21678-49
 141 East Michigan Avenue Suite 301               TAFT STETTINIUS & HOLLISTER LLP
 Kalamazoo, Michigan 49007                        One Indiana Square, Suite 3500
 Telephone: (269) 345-5156                        Indianapolis, IN 46204-2023
 Facsimile: (269) 345-5161                        Telephone: (317) 713-3500
                                                  Email: jhumphrey@taftlaw.com
 - and -
                                                  Jamil N. Alibhai (pro hac vice)
 Matthew M. Murphy (pro hac vice)                 Texas State Bar No. 00793248
 Nathan S. Gimpel (pro hac vice)                  MUNSCH HARDT KOPF & HARR, P.C.
 Michael C. Whalen (pro hac vice)                 500 N. Akard Street, Suite 3800
 Matthew Smart (pro hac vice)                     Dallas, Texas 75201-6659
 PAUL HASTINGS LLP                                Tel: (214) 855-7500
 71 South Wacker Drive, Suite 4500                Fax: (214) 855-7584
 Chicago, Illinois 60606                          Email: jalibhai@munsch.com
 Telephone: (312) 499-6000
 Facsimile: (312) 499-6100
                                                  Attorneys for Plaintiff OneSource Virtual,
 Attorneys for Interlogic Outsourcing, Inc.       Inc.


 /s/ Darius C. Gambino
 Sara E.D. Fazio
 KREIS, ENDERLE, HUDGINS & BORSOS, PC
 40 Pearl St. NW, 5th Floor
 Grand Rapids, MI 49503
 Telephone: (616) 254-8400
 Email: safazio@kreisenderle.com

    - and -

 Darius C. Gambino (pro hac vice)
 PA Attorney No. 83496
 SAUL EWING ARNSTEIN & LEHR LLP
 1500 Market Street, 38th Floor
 Philadelphia, PA 19102-2186
 Telephone: (215) 972-7173
 Email: darius.gambino@saul.com

 Attorneys for Defendant PrimePay, LLC


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